UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA § |
v. : CRIMINALNO. H-2Z(-ce-Soy
LUIS TOVAR, :
Defendant. §

PLEA AGREEMENT
The United States of America, by and through Jennifer B.-Lowery, Acting United States
Attorney for the Southern District of Texas, and Robert S. Johnson, Assistant United States
Attorney, and the defendant, LUIS TOVAR (“Defendant”), and Defendant's counsel, pursuant to
Rule 11(c)(1)(A) and {1(e\(1)B) of the Federal Rules of Criminal Procedure, state that they have
entered into an agreement, the terms and conditions of which are as follows:
Defendant's Agreement
1. Defendant agrees to plead guilty to Count One of the Criminal Information. Count
One charges Defendant with conspiracy, in violation of Title 18, United States Code, Section 371.
Defendant, by entering this plea, agrees that he is waiving any right to have the facts that the law
makes essential to the punishment either charged in the indictment, or proved to a jury or proven
beyond a reasonable doubt.
Punishment Range
2. The statutory maximum penalty for each violation of Title 18, United States Code,
Section 371, is imprisonment of not more than 5 years and a fine of not more than $250,000.
Additionally, Defendant may receive a term of supervised release after imprisonment of up to 3

years. See Title 18, United States Code, sections 3559(a)(4) and 3583(b)(2). Defendant
acknowledges and understands that if he should violate the conditions of any period of supervised
release which may be imposed as part of his sentence, then Defendant may be imprisoned for up
to 2 years, without credit for time already served on the term of supervised release prior to such
violation. See Title 18, United Stated Code, sections 3559(a)(4) and 3583(e)(3). Defendant
understands that he cannot have the imposition or execution of the sentence suspended, nor is he
eligible for parole.
Mandatory Special Assessment
3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o District
Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.
Immigration Consequences
4. Defendant recognizes that pleading guilty may have consequences with respect to his
‘immigration status. Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleading guilty may result in immigration consequences, such as _
denaturalization and potential deportation or removal from the United States. Defendant’s
attorney has advised Defendant of the potential immigration consequences resulting from
Defendant’s plea of guilty, and Defendant affirms that he wants to plead guilty regardless of any

immigration consequences that may result from the guilty plea and conviction.
Cooperation

5. The parties understand this agreement carries the potential for a motion for departure
under Section 5K1.1 of the Sentencing Guidelines. Defendant understands and agrees that
whether such a motion is filed will be determined solely by the United States through the United
States Attorney for the Southern District of Texas. Should Defendant’s cooperation, in the sole
judgment and discretion of the United States, amount to “substantial assistance,” the United States
reserves the sole right to file a motion for departure pursuant to Section 5K1.1 of the United States
Sentencing Guidelines. Defendant further agrees to persist in that plea through sentencing, fully
cooperate with the United States, and not oppose the forfeiture of assets contemplated in paragraph
22 of this agreement. Defendant understands and agrees that the United States will request that
sentencing be deferred until that cooperation is complete.

6. Defendant understands and agrees that “fully cooperate,” as that term is used herein,
includes providing al information relating to any criminal activity known to Defendant, including
but not limited to bribery or fraud occurring at the | Houston Independent School District.
Defendant understands that such information includes both state and federal offenses arising
therefrom. In that regard:

(a) Defendant agrees that this plea agreement binds only the United States

Attorney for the Southern District of Texas and Defendant; it does not bind any .

other United States Attorney or any other unit of the Department of Justice;

(b) Defendant agrees to testify.truthfully as a witness before a grand jury or in

any other judicial or administrative proceeding when called upon to do so by the

United States. Defendant further agrees to waive his Fifth Amendment privilege

against self-incrimination for the purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;
(d) Defendant agrees to provide truthful, complete and accurate information
and testimony and understands any false statements made by Defendant to the
Grand Jury or at any court proceeding (criminal or civil), or to a government agent
or attorney, can and will be prosecuted under the appropriate perjury, false
statement, or obstruction statutes;

(ec) Defendant agrees to provide to the United States all documents in his
possession or under his control relating to all areas of inquiry and investigation; and

(f) Should the recommended departure, if any, not meet Defendant’s

expectations, Defendant understands that he remains bound by the terms of this

agreement and cannot, for that reason alone, withdraw his plea.

Waiver of Appeal and Collateral Review

7. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords the right
to contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255. In the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this agreement and
seek specific performance of these waivers.

8. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the Sentencing Guidelines that he may have received from his counsel, the United

States or the Probation Office, is a prediction and not a promise, did not induce his guilty plea, and

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_ is not binding on the United States, the Probation Office or the Court. The United States does not
make any promise or representation concerning what sentence Defendant willreceive. Defendant
further understands and agrees that the United States Sentencing Guidelines are “effectively
advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005). Accordingly,
Defendant understands that, although the Court must consult the Sentencing Guidelines and must
take them into account when sentencing Defendant, the Court is not bound to follow the Sentencing
Guidelines nor sentence Defendant within the calculated guideline range.
9. Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement.
The United States’ Agreements
10. The United States agrees to the following:
(a) If the Court determines that Defendant qualifies for an adjustment under
section 3E1.1(a) of the United States Sentencing Guidelines, and the offense level
prior to operation of section 3E1.1(a) is 16 or greater, the United States will move
under section 3E1.1(b) for an additional one-level reduction because Defendant
‘timely notified authorities of his intent to plead guilty, thereby permitting the
United States to avoid preparing for trial and permitting the United States and the
Coutt to allocate its. resources more efficiently. .
Agreement Binding - Southern District of Texas Only
11. The United States Attorney’s Office for the Southern District of Texas agrees that it
will not further criminally prosecute Defendant in the Southern District of Texas for offenses
arising from conduct charged in the indictment. This plea agreement binds only the United States

Attorney’s Office for the Southern District of Texas and Defendant. It does not bind any other

United States Attorney’s Office. The United States Attorney’s Office for the Southern District of
Texas will bring this plea agreement and the full extent of Defendant’s cooperation to the attention

of other prosecuting offices, if requested.
United States’ Non-Waiver of Appeal
12. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:
(a) to bring its version of the facts of this case, including its evidence file and
any investigative files, to the attention of the Probation Office in connection with
that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant's
counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section 6A1.2

of the United States Sentencing Guidelines and Title 18, United States Code,

section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined.

Sentence Determination

13. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, section 3553(a). Defendant nonetheless acknowledges
and agrees that the Court has authority to impose any sentence up to and including the statutory
maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the parties’ positions
regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence

imposed is within the discretion of the sentencing judge. Ifthe Court should impose any sentence

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up to the maximum. established by statute, or should the Court order any or all of the sentences
imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
_ will remain bound to fulfill all of the obligations under this plea agreement.
Rights at Trial

14. Defendant understands that by entering into this agreement, he surrenders certain
rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, Defendant

would have the right to a speedy jury trial with the assistance of counsel. The trial

may be conducted by a judge sitting without a jury if Defendant, the United States,
and the court all agree.

(b) At atrial, the United States would be required to present witnesses and other
evidence against Defendant. Defendant would have the opportunity to confront
those witnesses and his attorney would be allowed to cross-examine them. In turn,
Defendant could, but would not be required to, present witnesses and other
evidence on his own behalf. If the witnesses for Defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
court; and

(c)  Atatrial, Defendant could rely ona privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he could testify on his own behalf.

Factual Basis for Guilty Plea

15. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Count One of the Criminal Information. If this case were to proceed to trial, the United States
could prove each element of the offense beyond a reasonable doubt, The following facts, among
others would be offered to establish Defendant's guilt:

The Houston Independent School District (“HISD”) is a public entity providing elementary

through high school education for students in Houston, Texas. From 2011 through 2020, HISD
received directly and indirectly through the Texas Education Agency approximately $300 million

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per year in federal program funds and grants from the United States Department of Education and
other federal agencies. The administration of HISD included a Chief Operating Officer who
managed various departments within HISD, including Facilities Services. Within Facilities
Services was the Facilities Maintenance and Operations group.

From 2011 to 2020, Brian Busby served as the HISD Chief Operating Officer, among other
positions. Under Busby was Alfred Hoskins, who was for a time the HISD General Manager of
the Facilities Maintenance and Operations (“FMO”) group. Under Hoskins in the FMO group
was Defendant LUIS TOVAR (“TOVAR”), who was the HISD Area Manager for Maintenance
(North) since 2014. In this position, TOVAR responded to repair requests from schools related
to plumbing, electrical, and structural problems. TOVAR had a role in hiring vendors to perform
work for the FMO group at HISD.

Anthony Hutchison, operating as Southwest Wholesale LLC (Southwest Wholesale) and
Just Partners Construction LLC (Just Construction) and identified as BUSINESSMAN 1 in the
Criminal Information, obtained contracts and purchase orders from HISD to provide grounds
maintenance, landscaping, construction, and repair services to HISD schools and other properties.
Hutchison obtained many jobs from the FMO group at HISD.

Hutchison paid cash bribes to TOVAR who helped award, or refrained from interfering in
the award of, HISD jobs to Hutchison. Hutchison paid two bribes to TOVAR in 2017. Each
bribe payment was approximately $10,000. When Hutchison first paid TOVAR, Hutchison told
him the money was “to take care of people that take care of him [Hutchison].” The HISD
construction of maintenance projects to which the bribes related were valued in excess of $10,000.

Hutchison’s companies obtained a disproportionate share of work from the FMO group at
HISD. Other approved vendors were obtaining little or no work from the FMO group, despite the
fact that Hutchison’s bids were comparatively expensive. At times, Just Construction did work
for the FMO group under an emergency status with emergency (and therefore higher) pricing, even
though there was no real emergency. The directive to use Just Construction came from Busby.
Despite believing that the favoritism shown to Just Construction in HISD contracting was
inappropriate, TOVAR did not complain to his management or object to using Just Construction
on projects that he was supervising.

Breach of Plea Agreement
16. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,

conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea
agreement, arid all leads derived therefrom, will be used against Defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally

17. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosure of all assets
over which he exercises direct or indirect control, or in which he has any financial interest.
Defendant agrees not to dispose of any assets or take any action that would effect a transfer of
property in which he has an interest, unless Defendant obtains the prior written permission of the
United States.

18. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the
United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant's complete financial disclosure. |

19. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to

facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his assets to deliver all funds and records of such assets to the United States.

20. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

21. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant understands and agrees that the Court will determine the amount of
restitution to fully compensate the victim(s). Defendant agrees that restitution imposed by the
Court will be due and payable immediately and that Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge
in any manner, including by direct appeal or in a collateral proceeding, the restitution order
imposed by the Court. |

Forfeiture

22. Defendant stipulates and agrees that Defendant obtained at least $20,000 from the
criminal offense and that the factual basis for his guilty plea supports the forfeiture of $20,000.
Defendant agrees to the imposition of a personal money judgment in that amount. Defendant
stipulates and admits that one or more of the conditions set forth in Title 21, United States Code,
section 853(p), exists. Defendant agrees to forfeit any of Defendant’s property in substitution, up
to a total forfeiture of $20,000.

23. Defendant agrees to waive any and all interest in any asset which is the subject of a

related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

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24. Defendant consents to the order of forfeiture becoming final as to Defendant
immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure
32.2(b)(4)(A).

25. Subject to the provisions of paragraph 7 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding.

Fines

26. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by
the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding.

Complete Agreement

27. This written plea agreement, consisting of 14 pages, including the attached addendum
of Defendant and his attorney, constitutes the complete plea agreement between the United States,
Defendant, and Defendant’s counsel. No promises or representations have been made by the
United States except as set forth in writing in this plea agreement. Defendant acknowledges that
no threats have been made against him and that he is pleading guilty freely and voluntarily because
he is guilty.

28. Any modification of this plea agreement must be in writing and signed by all parties.

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Filed at {eto ] , lexas, on Cretolsen 2b , 2021.

A.

“Defendant

 

Subscribed and sworn to before me on 1) toto bu- Lb , 2021.

NATHAN OSCHSNER, Clerk
UNITED STATES DISTRICT CLERK

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By: Cthenda o£ Nowke—
Deputy United States District Clerk

 

APPROVED:

JENNIFER B. LOWERY
ACTING UNITED STATES ATTORNEY

Robert S. Johnson Wes Rucker
Assistant United States Attorney Attorney for Defendant
Southern District of Texas

 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

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PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. J have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this
plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this
agreement is an informed and voluntary one. |
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Attomey for Defendant Date/

 

 

I have consulted with my attorney and fully understand all my rights with respect to the
indictment pending against me. My attorney has fully explained, and I understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual

which may apply inmy case. I have read and carefully reviewed every part of this plea agreement
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with my attorney. I understand this agreement and I voluntarily agree to its terms.

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Defendant Date

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